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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
___________________________________
                                    :
ADAM DOBSON,                        :            1:16-cv-01958-CCC
                                    :
               Plaintiff,           :
          v.                        :            (CONNER, C.J.)
                                    :
THE MILTON HERSHEY SCHOOL, et al., :
                                    :
               Defendants.          :
___________________________________ :

      DEFENDANTS’ MOTION TO COMPEL COMPLIANCE WITH
          SUBPOENA ISSUED TO NADEGE FLEURIMOND

      Defendants, the Milton Hershey School (“MHS”), and The Hershey Trust

Company (“HTC”), as Trustee of the Milton Hershey School Trust (collectively

“Defendants”), by and through their undersigned counsel, and pursuant to Rule 45

of the Federal Rules of Civil Procedure, hereby move to compel compliance with

Defendants’ subpoena to produce documents, information, or objects issued on

March 13, 2018, to Nadege Fleurimond.

      In support of the instant Motion, Defendants rely on their memorandum of

law, and all materials attached thereto in the above-captioned case.        Ms.

Fleurimond was directed to respond to the subpoena on or before April 6, 2018,

but has made no written objection to the subpoena and has failed to comply with

the subpoena. Accordingly, Defendants respectfully request the Court compel Ms.
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Fleurimond to produce all materials responsive to the March 13, 2018, subpoena

without further delay.

                                   Respectfully submitted,

                                   ELLIOTT GREENLEAF, P.C.

                                   /s Jarad W. Handelman
                                   Jarad W. Handelman, Esquire (PA 82629)
                                   Kyle M. Elliott, Esquire (PA 306836)
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Dated: November 14, 2018           Counsel for Defendants




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      STATEMENT OF CONFERENCE UNDER LOCAL RULE 26.3

      Under Local Rule 26.3, I hereby certify counsel for Defendants have

conferred with Ms. Fleurimond in a good faith effort to resolve by agreement

issues raised by this Motion to Compel. Despite counsel’s good faith efforts and

additional efforts to amicably resolve this matter, and Ms. Fleurimond’s

representation to counsel that she would comply with the subpoena, the issues

raised in this Motion remain unresolved. After Ms. Fleurimond agreed to comply

with the subpoena, she failed to respond to defense counsel’s written

correspondence or telephone calls, and remains in contempt of the subpoena.



                                     /s Jarad W. Handelman
                                     Jarad W. Handelman, Esquire
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      CERTIFICATE OF CONCURRENCE/NON-CONCURRENCE

     Pursuant to Local Rule 7.1, undersigned counsel certifies that he sought

concurrence from Nadege Fleurimond, and no concurrence was granted.



                                    /s Jarad W. Handelman
                                   Jarad W. Handelman, Esquire
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                        CERTIFICATE OF SERVICE

      I, Jarad W. Handelman, Esquire, hereby certify that I caused the foregoing

Motion to Compel Compliance with Subpoena Issued to Nadege Fleurimond to be

served on all counsel via the Court’s electronic filing system, and on Nadege

Fleurimond via email, Federal Express, and U.S. first class mail at 289 East 95th

Street, Apt. #1F, Brooklyn, NY 11212.




                                     /s Jarad W. Handelman
                                     Jarad W. Handelman, Esquire

Dated: November 14, 2018
